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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 MICHIGAN NURSERY AND LANDSCAPE
 ASSOCIATION, et al.,

        Plaintiffs,                                  Case No. 1:20-cv-331

 v.                                                  HONORABLE PAUL L. MALONEY

 GRETCHEN WHITMER, et al.,

        Defendants.
 ____________________________/


                      ORDER SCHEDULING HEARING ON MOTION

       A hearing on Plaintiffs’ motion for preliminary injunction is scheduled for April 29, 2020

at 10:00 a.m. The hearing will be held in Room 601, Federal Building, 110 Michigan St., N.W.,

Grand Rapids, Michigan. The Court will determine at a later date whether the hearing will be held

via video conference technology, by telephone, or in court.

       IT IS SO ORDERED.



Dated: April 23, 2020                                         /s/ Paul L. Maloney
                                                              Paul L. Maloney
                                                              United States District Judge
